

Matter of Attorneys in Violation of Judiciary Law § 468-a (Meng) (2022 NY Slip Op 03302)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Meng)


2022 NY Slip Op 03302


Decided on May 19, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 19, 2022

PM-101-22
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Fanpeng Meng, Respondent. (Attorney Registration No. 5193701.)

Calendar Date:April 25, 2022

Before:Egan Jr., J.P., Pritzker, Colangelo, Ceresia and McShan, JJ.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Fangpeng Meng, Hong Kong, respondent pro se.



Motion by respondent for an order reinstating him to the practice of law following his suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1082 [2021]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's affidavit with exhibit sworn to March 18, 2022, and the April 19, 2022 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [DaCunzo], 199 AD3d 1118, 1120 [2021]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effectively immediately.
Egan Jr., J.P., Pritzker, Colangelo, Ceresia and McShan, JJ., concur.








